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Office of the Standing Chapter 13 Trustee
105 Decker Ct
Suite 1150 11th Floor
Irving, TX 75062
(214) 855-9200


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


IN RE:                                                                 CASE NO: 13-32515-BJH-13
BETTY RUTH ARTIS
          DEBTOR



                         Trustee's Certificate of Chapter 13 Plan Payment Completion


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE;

   Comes now, Thomas D. Powers, Standing Chapter 13 Trustee, and would show unto the Court that the
above referenced Debtor has completed all payments payable to the Trustee.




                                                      Respectfully submitted,

                                                      THOMAS D. POWERS, CHAPTER 13 TRUSTEE


                                                      By: /s/ Thomas D. Powers
                                                      Thomas D. Powers
                                                      State Bar No. 16218700
                                                      105 Decker Ct
                                                      Suite 1150 11Th Floor
                                                      Irving, TX 75062
                                                      (214) 855-9200
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Trustee's Certificate of Chapter 13 Plan Payment Completion
Page 2
Case # 13-32515-BJH-13
BETTY RUTH ARTIS




                                                         Certificate of Service
I hereby certify that a copy of the foregoing Trustee 's Certificate of Chapter 13 Plan Payment Completion has
been served on the Debtor and Debtor's Counsel and on the other parties listed below by United States First
Class Mail or by electronic service.



Debtor:             BETTY RUTH ARTIS, 736 CRESENT DR, DESOTO, TX 75115
Attorney:           RICHARD D KINKADE PC, 2121 W AIRPORT FREEWAY NO 350, IRVING, TX 75062**
Notice Creditor(s): BASSEL AND WILCOX PLLC, PO BOX 11509, FORT WORTH, TX 76110-0509**
                      CODILIS AND STAWIARSKI, 400 N SAM HOUSTON PKWY EAST, STE 900A, HOUSTON, TX
                      77060
                      COUNTY OF DALLAS, CO LINEBARGER GOGGAN BLAIR ET AL, 2777 N STEMMONS FWY STE
                      1000, DALLAS, TX 75207**
                      GE CAPITAL RETAIL BANK, CO RECOVERY MANAGEMENT SYSTEMS, 25 SE 2ND AVENUE
                      SUITE 1120, MIAMI, FL 33131-1605**
                      MACKIE WOLF ZIENTZ AND MANN PC, PARKWAY OFFICE CENTER SUITE 900, 14160 NORTH
                      DALLAS PARKWAY, DALLAS, TX 75254**



**Indicates party has elected to receive all notifications via electronic service and was not served a copy via United States First Class Mail.



Dated: 5/31/2018
                                                                           By: /s/ Thomas D. Powers
                                                                           Thomas D. Powers
